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                        UNITED STATES BANKRUPTCY COURT
                           MIDDLE DISTRICT OF FLORIDA
                             JACKSONVILLE DIVISION

In re:
                                                         Case No.: 3:16-bk-02230-PMG
RMS TITANIC, INC., et al.,
                                                         Chapter 11
                  1
      Debtors.
________________________________/                        (Jointly Administered)

       NOTICE OF FILING DRAFT COMPLAINT IN SUPPORT OF THE EQUITY
    COMMITTEE'S EMERGENCY MOTION FOR ENTRY OF AN ORDER GRANTING
      DERIVATIVE STANDING AND AUTHORITY TO PROSECUTE AND SETTLE
      CERTAIN CLAIMS ON BEHALF OF THE DEBTORS' ESTATES (DOC. 1015)

         The Official Committee of Equity Security Holders of Premier Exhibitions, Inc., Chapter

11 Debtor in Case No. 3:16-bk-02232-PMG and the parent company of RMS Titanic, Inc.,

Chapter 11 Debtor in Case No. 3:16-bk-02230-PMG, by and through undersigned counsel,

hereby gives notice of filing the draft Adversary Complaint and Demand for Jury Trial in support

of its Emergency Motion of the Official Committee of Equity Security Holders for Entry of an

Order Granting Derivative Standing and Authority to Prosecute and Settle Certain Claims on

Behalf of the Debtors' Estates (Doc. 1015).       The attached draft Adversary Complaint and

Demand for Jury Trial is subject to further revision and incorporation of additional claims.

Dated: May 23, 2018                             Peter J. Gurfein, Esq.
                                                LANDAU GOTTFRIED & BERGER LLP
                                                1801 Century Park East, Suite 700
                                                Los Angeles, California 90067
                                                (310) 557-0050
                                                (310) 557-0056 (Facsimile)
                                                pgurfein@lgbfirm.com


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  The Debtors in the chapter 11 cases, along with the last four digits of each Debtor's federal tax
identification number include: RMS Titanic, Inc. (3162); Premier Exhibitions, Inc. (4922); Premier
Exhibitions Management, LLC (3101); Arts and Exhibitions International, LLC (3101); Premier
Exhibitions International, LLC (5075); Premier Exhibitions NYC, Inc. (9246); Premier Merchandising,
LLC (3867); and Dinosaurs Unearthed Corp. (7309) (collectively, the "Debtors"). The Debtors' service
address is 3045 Kingston Court, Suite I, Peachtree Corners, Georgia 30071.


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                                              -and-

                                              AKERMAN LLP
                                              By: /s/ Jacob A. Brown
                                              Jacob A. Brown
                                              Florida Bar No. 170038
                                              50 North Laura Street, Suite 3100
                                              Jacksonville, Florida 32202
                                              (904) 798-3700
                                              (904) 798-3730 (Facsimile)
                                              Jacob.brown@akerman.com
                                              Attorneys for the Official Committee of Equity
                                              Security Holders of Premier Exhibitions, Inc.


                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on May 23, 2018, the foregoing was transmitted to the Court
for uploading to the Case Management/Electronic Case Files ("CM/ECF") System, which will
send a notice of electronic filing to all creditors and parties in interest who have consented to
receiving electronic notifications in this case. In accordance with the Court's Order Granting
Debtors' Motion for an Order Pursuant to 11 U.S.C. § 105(a) and Rule 2002 Establishing Notice
Procedures (Doc. 140), a copy of the foregoing was also furnished on May 23, 2018 by U.S.
mail, postage prepaid and properly addressed, to the Master Service List attached hereto.

                                                           /s/ Jacob A. Brown
                                                           Attorney




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                               MASTER SERVICE LIST
                              Case No. 3:16-bk-02230-PMG

A-1 Storage and Crane                    ABC Imaging
2482 197th Avenue                        14 East 38th Street
Manchester, IA 52057                     New York, NY 10017

A.N. Deringer, Inc.                      ATS, Inc.
PO Box 11349                             1900 W. Anaheim Street
Succursale Centre-Ville                  Long Beach, CA 90813
Montreal, QC H3C 5H1

Broadway Video                           CBS Outdoor/Outfront Media
30 Rockefeller Plaza                     185 US Highway 48
54th Floor                               Fairfield, NJ 07004
New York, NY 10112

Dentons Canada LLP                       Enterprise Rent-A-Car Canada
250 Howe Street, 20th Floor              709 Miner Avenue
Vancouver, BC V6C 3R8                    Scarborough, ON M1B 6B6

Expedia, Inc.                            George Young Company
10190 Covington Cross Drive              509 Heron Drive
Las Vegas, NV 89144                      Swedesboro, NJ 08085

Gowlings                                 Hoffen Global Ltd.
550 Burrard Street                       305 Crosstree Lane
Suite 2300, Bental 5                     Atlanta, GA 30328
Vancouver, BC V6C 2B5

Kirvin Doak Communications               MNP LLP
5230 W. Patrick Lane                     15303 - 31st Avenue
Las Vegas, NV 89118                      Suite 301
                                         Surrey, BC V3Z 6X2

Morris Visitor Publications              NASDAQ Stock Market, LLC
PO Box 1584                              805 King Farm Blvd.
Augusta, GA 30903                        Rockville, MD 20850

National Geographic Society              NYC Dept. of Finance
1145 - 17th Avenue NW                    PO Box 3646
Washington, DC 20036                     New York, NY 10008
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PacBridge Limited Partners                  Pallet Rack Surplus, Inc.
22/F Fung House                             1981 Old Covington Cross Road NE
19-20 Connaught Road                        Conyers, GA 30013
Central Hong Kong

Ramparts, Inc.                              Screen Actors Guild
d/b/a Luxor Hotel and Casino                1900 Broadway
3900 Las Vegas Blvd. South                  5th Floor
Las Vegas, NV 89119                         New York, NY 10023

Seaventures, Ltd.                           Sophrintendenza Archeologica
5603 Oxford Moor Blvd.                      di Napoli e Pompei
Windemere, FL 34786                         Piazza Museo 19
                                            Naples, Italy 80135

Syzygy3, Inc.                               Time Out New York
231 West 29th Street                        405 Park Avenue
Suite 606                                   New York, NY 10022
New York, NY 10001

TPL                                         TSX Operating Co.
3340 Peachtree Road                         70 West 40th Street
Suite 2140                                  9th Floor
Atlanta, GA 30326                           New York, NY 10018

Verifone, Inc.                              Samuel Weiser
300 S. Park Place Blvd.                     565 Willow Raod
Clearwater, FL 33759                        Winnetka, IL 60093

WNBC - NBC Universal Media                  United States Attorney’s Office
30 Rockefeller Center                       Middle District of Florida
New York, NY 10112                          300 N. Hogan Street, Suite 700
                                            Jacksonville, FL 32202

Jonathan B. Ross, Esq.                      Christine R. Etheridge, Esq.
Gowling WLG (Canada) LLP                    Bankruptcy Administration
550 Burrard Street, Suite 2300, Bentall 5   Wells Fargo Vendor Financial Services, LLC
Vancouver, BC V6C 2B5                       PO Box 13708
                                            Macon, GA 31208
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TSX Operating Co., LLC                  Dallian Hoffen Biotechnique Co., Ltd.
c/o James Sanna                         c/o Ezra B. Jones
70 W. 40th Street                       305 Crosstree Lane
New York, NY 10018                      Atlanta, GA 30328
Creditor Committee                      Creditor Committee

B.E. Capital Management Fund LP
Thomas Branziel
205 East 42nd Street , 14th Floor
New York, NY 10017
Creditor Committee
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                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    Jacksonville Division
                                   www.flmb.uscourts.gov

In re:                                                      Chapter 11

RMS TITANIC, INC. et al..                                   Case No. 3:16-bk-002230-PMG

     Debtors                                                Jointly Administered
______________________________________/

                                                             Adv. Case No. _________________
OFFICIAL COMMITTEE OF EQUITY
SECURITY HOLDERS OF PREMIER
EXHIBITIONS, INC.,

         Plaintiff,
v.

MARK A. SELLERS, SAMUEL WEISER,
DOUGLAS BANKER, RICHARD KRANIAK,
JACOB H. JACOBS, DAOPING BAO, and
SELLERS CAPITAL MASTER FUND, LTD.,

      Defendants.
______________________________________/

               ADVERSARY COMPLAINT AND DEMAND FOR JURY TRIAL

         Plaintiff, the Official Committee of Equity Security Holders of Premier Exhibitions, Inc.

(the “Equity Committee” or “Plaintiff”), sues the defendants, Mark A. Sellers (“Sellers”),

Samuel Weiser (“Weiser”), Douglas Banker (“Banker”), Richard Kraniak (“Kraniak”), Jacob H.

Jacobs (“Jacobs”), Daoping Bao (“Bao”), and Sellers Capital Master Fund, Ltd. (“Sellers

Capital”), (when the foregoing are referred to collectively, the “Defendants”), alleging as

follows:
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                                      SUMMARY OF THE ACTION

       1.        In this action for monetary and equitable relief, the Equity Committee, on behalf

of the bankruptcy estate of Premier Exhibitions, Inc. (“Premier”), seeks damages for the

Defendants’ tortious conduct. Sellers and Weiser were directors of Premier, Weiser served as

Premier’s Chief Executive Officer (CEO), and Sellers Capital, an entity owned and controlled by

Sellers and Weiser, owned approximately 31.1% of Premier. Sellers, Weiser, and Sellers Capital

thus owed fiduciary duties to Premier and its shareholders. Sellers, Weiser, and Sellers Capital

breached their fiduciary duties and usurped at least one of Premier’s corporate opportunities by

(1) prioritizing their pecuniary interests in selling Sellers Capital’s shares of Premier’s stock (the

“Sellers Capital Shares”) over Premier’s need to obtain operating capital, and (2) appropriating a

corporate opportunity to engage in a beneficial transfer of Premier’s stock to Armada Group GP,

Inc. (“Armada”). These breaches damaged Premier and its shareholders.

       2.        Banker, Kraniak, and Jacobs aided and abetted these breaches, and Sellers,

Weiser, and Sellers Capital aided and abetted each other’s breaches.

       3.        Sellers, Weiser, Banker, Jacobs, and Kraniak also breached their respective

fiduciary duties of care by, and were grossly negligent in, closing Premier’s merger with

DinoKing Tech Inc. (“DinoKing”) on a hasty and careless basis, without considering competing

opportunities, and without assessing the myriad accounting errors in DinoKing’s financial

statements.

       4.        Finally, Bao breached his fiduciary duties to Premier by failing to either disclose

or rectify these errors after he became a director and the CEO of Premier.




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        5.         As a result of the Defendants’ tortious conduct, Premier and its shareholders

sustained damages, and any claim the Defendants have against the bankruptcy estates of Premier

or any of its subsidiaries should be equitably subordinated.

                                PARTIES, JURISDICTION, AND VENUE

        6.         The Equity Committee is a committee of Premier’s equity security holders

appointed by the Acting United States Trustee in accordance with 11 U.S.C. § 1102(a). [See

D.E. 166.] The Equity Committee has standing to pursue all direct and derivative claims held by

Premier’s shareholders pursuant to this Court’s Order Granting the Emergency Motion of the

Official Committee of Equity Security Holders for Entry of an Order Granting Derivative

Standing and Authority to Prosecute and Settle Certain Claims on Behalf of the Debtors’

Estates. [See D.E.]

        7.         Sellers is a resident of Illinois and was a director of Premier until Premier’s

merger with DinoKing.

        8.         Weiser is a resident of Illinois, was Premier’s CEO until June 13, 2014, and was a

director of Premier until April 2, 2015.

        9.         Banker is a resident of Michigan and director of Premier.

        10.        Kraniak is a resident of Michigan and director of Premier.

        11.        Jacobs is a resident of New York and was a director of Premier until March 16,

2015.

        12.        Bao is a resident of Canada, a director of Premier, and Premier’s CEO.

        13.        Sellers Capital is a Cayman Islands company that maintains its principal place of

business in Illinois.

        14.        Premier is a Florida for-profit corporation.

                                                             3

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          15.        The damages sought in this action exceed $75,000.00, exclusive of interest and

costs.

          16.        This Court has jurisdiction over this action pursuant to 28 U.S.C. §§ 1332, 1334,

157.

          17.        This is a core proceeding under 28 U.S.C. § 157(b) that includes non-core claims,

and the Equity Committee consents to the entry of a final order and judgment by the Bankruptcy

Court pursuant to Fed. R. Bankr. P. 7008(a).

          18.        This Court has jurisdiction over the Defendants because the Defendants

committed tortious acts within this state, all of the Defendants are residents and citizens of the

United States, and the Federal Rules of Bankruptcy Procedure provide for nationwide service of

process.

          19.        The Defendants may be joined in this action under Fed. R. Bankr. P. 7020

because the Plaintiff’s right to relief from each of them arises from the same series of

occurrences, and questions of law and fact common to all of the Defendants will arise in this

action.

          20.        Venue is proper in this Court pursuant to 28 U.S.C. § 1409.

                                            GENERAL ALLEGATIONS

          21.        The Defendants owed Premier and its shareholders certain fiduciary duties.

          22.        These duties include the duty of care, the duty of loyalty, and the duty of good

faith.

          23.        The duty of care required that the Defendants use that amount of care which

ordinarily careful and prudent people would use in similar circumstances, and consider all

material information which was readily available to them in making business decisions.

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       24.        The duty of loyalty required that the best interests of Premier and its shareholders

take precedence over any interest possessed by the Defendants and not shared by Premier’s

stockholders generally. None of the Defendants could act loyally towards Premier unless they

acted in the good faith belief that their actions were in Premier’s best interests.

       25.        The duty of good faith required that the Defendants take all actions necessitated

by a true faithfulness and devotion to the interests of Premier and its shareholders. None of the

Defendants could act with a purpose other than that of advancing Premier’s best interests.

       26.        As an owner of approximately 31.1% of Premier’s stock, Sellers Capital owed

Premier and its minority shareholders the foregoing fiduciary duties.

       27.        In early 2014, Sellers and Weiser were directors of Premier, and Weiser was

Premier’s CEO. As such, Sellers and Weiser owed Premier and its shareholders the foregoing

fiduciary duties.

       28.        At the same time, Sellers and Weiser owned, operated, and thus owed the same

fiduciary duties to Sellers Capital.

       29.        Sellers and Weiser’s fiduciary duties to and the interests of Sellers Capital began

to conflict with their fiduciary duties to and the interests of Premier because Sellers, Weiser, and

Sellers Capital sought to dispose of the Sellers Capital Shares at the precise time that Premier

was pursuing a capital infusion.

       30.        In 2014, Premier was suffering from a shortfall in operating capital and assessing

different options to alleviate the deficit and carry out its business plans, including debt financing

options and opportunities to merge with other companies.




                                                            5

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       31.        During this process, Premier engaged in discussions with numerous entities,

including Armada, DinoKing, Base Entertainment (“Base”), Brevet Capital Advisors (“Brevet”),

and Twin Haven Capital Partners (“Twin Haven”).

       32.        Throughout 2014, Premier received merger proposals from Armada, DinoKing,

and Base, which included debt financing options, as well as straight debt financing proposals

from Brevet and Twin Haven.

       33.        Despite Premier’s acute need for capital, however, Sellers and Weiser refused to

allow Premier to proceed with any of these opportunities. Rather than fulfilling their respective

duties to Premier and its shareholders, Sellers and Weiser were attempting to sell the Sellers

Capital Shares and did not want a merger or debt financing transaction to interfere with that sale

or adversely affect the sale price payable to Sellers Capital and, by extension, themselves.

       34.        Stark evidence of Sellers and Weiser’s breaches of their fiduciary duties is

memorialized in an email exchange between Sellers and Weiser on May 8, 2014. In that

communication, Sellers expressly stated that he would vote against Premier accepting any loan

offer at that point because he would be accepting a letter of intent to purchase Sellers Capital

Shares that day.

       35.        In fact, Premier did not accept the proposals Brevet and Twin Haven submitted.

As a result, Premier did not obtain the capital it required to keep its operation running smoothly,

carry out its business plans, and otherwise maintain and increase shareholder value.

       36.        Moreover, with respect to the entities that had expressed an interest in merging

with Premier, Sellers, Weiser, and Sellers Capital began competing with Premier, as any entity

that was interested in merging with Premier would be interested in purchasing the Sellers Capital

Shares and thereby obtaining a 31.1% block of Premier’s stock.

                                                            6

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         37.        Shortly after Armada proposed a merger transaction with Premier, for example, it

also proposed, through an affiliated entity, to purchase the Sellers Capital Shares for $1.30 per

share.

         38.        Thereafter, both Base and DinoKing, who had previously only been negotiating

deals with Premier, also made offers to Sellers for the purchase of the Sellers Capital Shares.

         39.        Upon information and belief, Sellers and Weiser actively solicited competing

offers from entities interested in merging with Premier and discouraged such entities from

pursuing a merger before the Sellers Capital Shares were sold.

         40.        On July 16, 2014, for instance, Weiser attempted to convince DinoKing’s

representatives that they would not be able to negotiate a deal with Premier at that time and

suggested that DinoKing purchase the Sellers Capital Shares first.

         41.        Eventually, Sellers, Weiser, and Sellers Capital decided to sell the Sellers Capital

Shares to KOP Group PTE, Ltd. (“KOP”).

         42.        Believing that Premier’s approval of the sale was required under the Florida

Control Share Acquisition Statute, Sellers put the proposed transaction with KOP before

Premier’s board of directors for a vote on July 23, 2014.

         43.        Premier’s board of directors voted against the proposed transaction with KOP.

         44.        At the very next meeting, Sellers moved to reconstitute the board of directors, and

directors William Adams, Ronald Bernanrd, and Bruce Steinberg, who had opposed Sellers’

actions, were replaced by Jacobs and Kraniak.

         45.        The newly reconstituted board acted quickly to appoint Weiser as Executive

Chairman of Premier’s board of directors with a salary of $30,000 per month, an unreasonable

and suspiciously high level of compensation for a company with an acute need for capital.

                                                              7

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       46.        As Executive Chairman of the board, Weiser provided Premier’s directors with

updates about the contemplated transactions with DinoKing and Armada.

       47.        As Premier’s directors well knew, however, Premier would not be proceeding

with either transaction until after the Sellers Capital Shares were sold.

       48.        In fact, DinoKing would subsequently explain in a presentation to potential

investors that, while Premier and DinoKing began discussing a potential merger in January 2014,

the merger did not move ahead at that time because Sellers was then focused on selling the

Sellers Capital Shares and did not want them to be diluted.

       49.        In the meantime, Premier’s financial situation continued to deteriorate due to its

directors’ tortious conduct to the point where Premier had to obtain a loan.

       50.        Premier had already received long-term debt financing proposals from Brevet and

Twin Haven, but they were rebuffed by Premier due to Sellers and Weiser’s influence.

       51.        The rejection of the Brevet and Twin Haven proposals were not based upon

Premier’s best interests. Instead, Sellers and Weiser caused Premier to reject these proposals

because they were pursuing their own interests and the interests of Sellers Capital, ensuring that

no action significantly impacted the sale of the Sellers Capital Shares would be taken.

       52.        However, while Sellers and Weiser were placing their own interests over those of

Premier, Premier needed cash. Premier was thus ultimately left with no option but to obtain a

bridge loan from Pentwater Capital Management LP (the “Pentwater Loan”) on terms less

favorable than those offered by Brevet and Twin Haven.

       53.        The Pentwater Loan was made on September 30, 2014, and matured on March 31,

2015, a mere six (6) months later.



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       54.        During this time, the KOP deal fell through, and Sellers and Weiser resumed

negotiations with Armada, but not for the purpose of completing a merger with Premier, which

Armada was still interested in, but for the conflicting purpose of selling the Sellers Capital

Shares to Armada.

       55.        On October 15, 2014, Sellers and Weiser’s breaches of their duties to Premier

paid off. Armada agreed to purchase the Sellers Capital Shares for $16,200,000, which, after a

February 1-for-10 split of Premier’s common stock, would amount to $10.50 per share, a

significant windfall for Sellers, Weiser, and Sellers Capital.

       56.        Under the terms of this agreement, Armada was required to tender the full

purchase price in exchange for the Sellers Capital Shares, and Sellers and Weiser were required

to have three new directors chosen by Armada appointed to Premier’s board of directors by

November 20, 2014.

       57.        Premier’s board of directors approved of this agreement, and Sellers and Weiser

succeeded in having the directors chosen by Armada appointed to Premier’s board of directors,

as Sellers and Weiser controlled the board. Sellers and Weiser remained as directors despite

their conflicting interests, and Jacobs and Kraniak—Sellers and Weiser’s handpicked

replacements for dissenting directors William Adams, Ronald Bernard, and Bruce Steinberg—

consented to and facilitated Sellers and Weiser’s actions.

       58.        However, Armada did not tender the purchase price as agreed and, as a result,

Sellers Capital sued Armada in the United States District Court for the North District of Illinois

(the “Armada Action”).




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       59.        Sellers Capital ultimately secured a judgment against Armada for $6,000,000,

reflecting a portion of the corporate opportunity that Premier should and would have enjoyed but

for Sellers, Weiser, and Sellers Capital’s usurpation of the same.

       60.        With the Armada deal signed, Premier was finally permitted to make meaningful

progress toward obtaining the capital needed to operate and pursue its business plans.

       61.        By this point, there was not much time to act, as the Pentwater Loan would soon

mature, and Premier did not have the funds required to repay it.

       62.        Yet, there was sufficient time to adequately analyze the DinoKing proposal,

which, while not as favorable as prior competing proposals Premier had received, was still

available to Premier.

       63.        There was also enough time to consider competing proposals.

       64.        Nevertheless, Sellers, Weiser, Banker, Kraniak, and Jacobs decided to move

forward with the DinoKing offer without even hearing a competing offer for long-term

convertible debt from a group led by Andrew Shapiro.                          Instead, Sellers, Weiser, Banker,

Kraniak, and Jacobs simply pursued the first available offer.

       65.        On April 2, 2015, DinoKing and Premier entered into a merger agreement.

       66.        While preparing the proxy statement for the merger, Premier determined that

there were issues in DinoKing’s financial statements.

       67.        Specifically, Premier was concerned about the propriety of DinoKing’s

recognition of revenue in its audited financial statements.

       68.        Sellers, Weiser, Banker, Kraniak, and Bao were or should have been aware of

these financial improprieties, as well as the possibility that the financial statements would have



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to be restated after the merger as a result. Despite that knowledge, none of them ensured that

these financial improprieties were resolved before moving forward with the merger.

           69.        After the merger, Sellers and Weiser resigned from Premier’s board of directors,

and Bao joined the board.

           70.        From the time Bao joined Premier’s board of directors until April 11, 2016, nearly

six months after the merger closed, Bao fought with Premier’s management over the accuracy of

DinoKing’s financial statements.

           71.        On April 11, 2016, however, Premier issued a disclosure statement explaining that

Premier was restating DinoKing’s financial information from 2013 and 2014.

           72.        For fiscal year 2013, DinoKing’s revenue was really $5,400,000,1 not the

$6,400,000 reported in the proxy statement, the cost of sales was reduced from $2,500,000 to

$1,600,000, and the operating income was restated as $700,000, not the $1,000,000 previously

reported.

           73.        For fiscal year 2014, DinoKing’s revenue was not $11,000,000, as reported, but

was actually $6,000,000, the cost of sales was reduced from $1,600,000 to $1,000,000, and the

operating income was reported as $2,100,000, not $6,500,000.

           74.        As a result of Bao’s failure to take all appropriate action to ensure that

DinoKing’s financial statements were restated as soon as possible, as well as the Defendants’

gross negligence and breaches of fiduciary duties described herein, Premier and its shareholders

were harmed.

           75.        From January 3, 2014, through April 15, 2016, Premier’s price per share dropped

95.42%, from $11.80 per share to $0.54 per share.


1
    All of the dollar amounts contained in DinoKing’s financial statements refer to Canadian dollars.
                                                               11

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       76.        In fact, Sellers Capital’s judgment in the Armada Action is based on the

difference between $10.50 per share, the price that Armada would have paid for the Sellers

Capital Shares after the 1-for-10 split, and $0.78 per share, the value at which Sellers Capital

distributed the Sellers Capital Shares to its investors on or about December 18, 2015.

       77.        Premier’s management recognized the value of time for Premier during this

critical period. Michael J. Little, who served as Premier’s CEO for a time, testified that Premier

would have “[a]bsolutely” been better off as a company had it entered into a strategic transaction

earlier than it did, and Weiser himself complained to Armada that its failure to close the

transaction cost Premier “valuable weeks” in negotiating other deals.

       78.        If the DinoKing transaction or any other strategic transaction was more actively

pursued earlier, while Premier’s shares were more valuable, Premier would have obtained a more

advantageous deal.

       79.        But for Sellers and Weiser’s pursuit of a deal for Sellers Capital, the DinoKing

deal (or another transaction) could have closed earlier.

       80.        Sellers, Weiser, Banker, Jacobs, and Kraniak were all aware of the potential

transactions available to Premier, as well as Premier’s need for an infusion of capital, but

allowed the Armada deal to move forward at Premier’s expense.

       81.        Indeed, Premier disclosed in a proxy statement that “discussions with the

PacBridge/Dinoking group, along with other potential strategic partners with whom the

Company was in discussion, were paused pending the outcome of the Sellers/Armada

transaction.”




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        82.        Moreover, the foregoing figures, while material and compelling, do not fully and

adequately reflect the extent of the damage Premier sustained by missing and losing corporate

opportunities as a result of the Defendants’ tortious conduct.

        83.        The Defendants are liable for this damage.

        84.        As a result of this damage, Premier was forced to seek protection under the

Bankruptcy Code.

        85.        On June 14, 2016, Premier filed a voluntary petition in this Court for relief under

Chapter 11 of the Bankruptcy Code.

        86.        On August 24, 2016, the United States Trustee appointed the Equity Committee.

        87.        The Equity Committee has engaged the undersigned law firm for representation in

this action and has agreed to an arrangement under which the undersigned law firm will receive

payment for the reasonable fees and expenses associated therewith.

        88.        All conditions precedent to the initiation of this action have occurred, have been

satisfied, or have been waived or excused.

                                                COUNT I
                                      BREACH OF FIDUCIARY DUTY
                                         (Against All Defendants)

        89.        The Plaintiff re-alleges here the allegations set forth in the paragraphs preceding

the first count of this complaint as if fully set forth herein.

        90.        The Defendants owed Premier and its shareholders the fiduciary duties of care,

loyalty, and good faith.

        91.        The Defendants breached their fiduciary duties to Premier and its shareholders.

        92.        Sellers and Weiser breached their fiduciary duties to Premier and its shareholders

by, among other things, (1) prioritizing their interests in selling the Sellers Capital Shares over

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Premier’s interests, (2) preventing Premier from moving forward with any proposed merger or

debt financing option in order to first promote the sale of the Sellers Capital Shares, (3) causing

Premier to lose corporate opportunities to merge and secure debt financing, (4) actively

competing with Premier in its pursuit of corporate opportunities, (5) replacing members of

Premier’s board of directors because they disapproved of Sellers’ actions, (6) causing Premier to

pay Weiser and accepting a salary of $30,000 per month at a time when Premier was in financial

straits, (7) approving the agreement to sell the Sellers Capital Shares to Armada, (8) usurping

and permitting the usurpation of Premier’s corporate opportunity with Armada, (9) causing the

appointment of individuals chosen by Armada to Premier’s board of directors pursuant to an

agreement to sell the Sellers Capital Shares to Armada, (10) moving forward with the DinoKing

merger proposal without considering competing offers, (11) moving forward with the DinoKing

merger without adequately addressing the inaccuracies in DinoKing’s financial statements, and

(12) permitting and enabling the other Defendants to breach their fiduciary duties to Premier.

       93.        Banker, Jacobs, and Kraniak breached their fiduciary duties to Premier and its

shareholders by, among other things, (1) permitting Premier to stop progressing toward any

merger or debt financing option in order to promote the sale of the Sellers Capital Shares, (2)

permitting Premier to lose corporate opportunities to merge and secure debt financing, (3)

approving the replacement of members of Premier’s board of directors because they disapproved

of Sellers’ actions, (4) approving a salary for Weiser of $30,000 per month at a time when

Premier was in financial straits, (5) approving the agreement to sell the Sellers Capital Shares to

Armada and thereby permitting the usurpation of Premier’s corporate opportunity with Armada,

(6) approving the appointment of individuals chosen by Armada to Premier’s board of directors

pursuant to the agreement to sell the Sellers Capital Shares to Armada, (7) moving forward with

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the DinoKing merger proposal without considering competing offers, (8) moving forward with

the DinoKing merger without adequately addressing the inaccuracies in DinoKing’s financial

statements, and (9) otherwise permitting and enabling the other Defendants to breach their

fiduciary duties to Premier.

       94.        Sellers Capital breached its fiduciary duties to Premier and its other shareholders

by, among other things, competing with Premier for corporate opportunities and usurping

Premier’s corporate opportunity with Armada.

       95.        Bao breached his fiduciary duties to Premier by, among other things, (1) failing to

disclose the misstatements and accounting errors in DinoKing’s financial statements after

becoming Premier’s CEO and joining Premier’s board of directors, and (2) failing to correct the

misstatements and accounting errors in DinoKing’s financial statements after becoming

Premier’s CEO and joining Premier’s board of directors.

       96.        As a direct and proximate result of these breaches, Premier and its shareholders

sustained damages.

       97.        The damages sustained by Premier and its shareholders include or are evidenced

by, among other things, (1) the lost corporate opportunity to merge with Armada, (2) the lost

corporate opportunity to merge with DinoKing at a more beneficial time, (3) the lost corporate

opportunity to merge with Base, (4) the lost corporate opportunity to secure debt financing from

Brevet when Premier needed it, (5) the lost corporate opportunity to secure debt financing from

Twin Haven when Premier needed it, (6) the lost corporate opportunity to merge with a company

more viable than DinoKing, (7) the drop in market capitalization and shareholder value between

2014 and 2016, and (8) Premier’s bankruptcy and the associated expenses.

       98.        The Defendants are liable for these damages.

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                                           COUNT II
                AIDING AND ABETTING BREACH OF FIDUCIARY DUTY
             (Against Sellers, Weiser, Banker, Jacobs, Kraniak, and Sellers Capital)

       99.        The Plaintiff re-alleges here the allegations set forth in the paragraphs precedent

the second count of this complaint as if fully set forth herein.

       100.       The Defendants owed Premier and it shareholders the fiduciary duties of care,

loyalty, and good faith.

       101.       The Defendants breached their fiduciary duties to Premier and its shareholders.

       102.       Sellers, Weiser, Banker, Jacobs, Kraniak, and Sellers Capital each knew that the

Defendants had breached their fiduciary duties to Premier and its shareholders.

       103.       Sellers, Weiser, Banker, Jacobs, Kraniak, and Sellers Capital each substantially

assisted the Defendants in breaching their fiduciary duties to Premier and its shareholders.

       104.       As a direct and proximate result, Premier and its shareholders sustained damages.

       105.       The damages sustained by Premier and its shareholders include or are evidenced

by, among other things, (1) the lost corporate opportunity to merge with Armada, (2) the lost

corporate opportunity to merge with DinoKing at a more beneficial time, (3) the lost corporate

opportunity to merge with Base, (4) the lost corporate opportunity to secure debt financing from

Brevet when Premier needed it, (5) the lost corporate opportunity to secure debt financing from

Twin Haven when Premier needed it, (6) the lost corporate opportunity to merge with a company

more viable than DinoKing, (7) the drop in market capitalization and shareholder value between

2014 and 2016, and (8) Premier’s bankruptcy and the associated expenses.

       106.       Sellers, Weiser, Banker, Jacobs, Kraniak, and Sellers Capital are liable for these

damages.



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                                            COUNT III
                                      GROSS NEGLIGENCE
                      (Against Sellers, Weiser, Banker, Jacobs, and Kraniak)

        107.     The Plaintiff re-alleges here the allegations set forth in the paragraphs preceding

the first count of this complaint as if fully set forth herein.

        108.     Sellers, Weiser, Banker, Jacobs, and Kraniak had a duty to Premier to use

ordinary, reasonable, and prudent care in proceeding with Premier’s merger with DinoKing in

order to protect Premier and its shareholders against unreasonable risks.

        109.     In proceeding with Premier’s merger with DinoKing, the Sellers, Weiser, Banker,

Jacobs, and Kraniak grossly failed to conform to the required standard of care because, among

other things, they (1) moved forward with the DinoKing merger proposal without considering

competing offers, and (2) moved forward with the DinoKing merger without resolving the

known inaccuracies in DinoKing’s financial statements.

        110.     As a direct and proximate result, Premier and its shareholders sustained damages.

        111.     The damages sustained by Premier and its shareholders include or are evidenced

by, among other things, (1) the lost corporate opportunity to merge with a company more viable

than DinoKing, (2) the drop in market capitalization and shareholder value caused by the

restatement of DinoKing’s financial statements, and (3) Premier’s bankruptcy and the associated

expenses.

        112.     Sellers, Weiser, Banker, Jacobs, and Kraniak are liable for these damages.




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                                                 COUNT IV
                                             CAREMARK CLAIM
                                                (Against Bao)

        113.     The Plaintiff re-alleges here the allegations set forth in the paragraphs preceding

the first count of this complaint as if fully set forth herein.

        114.     Bao knew or should have known that DinoKing’s financial statements were not

compliant with applicable laws due to inaccuracies and accounting errors.

        115.     Bao took no steps in a good faith effort to remedy that situation—indeed, he

fought Premier’s management on this issue and refused to acknowledge the improprieties of

DinoKing’s financial statements for nearly six (6) months after the merger closed.

        116.     As a direct and proximate result, Premier and its shareholders sustained damages.

        117.     The damages sustained by Premier and its shareholders include or are evidenced

by, among other things, (1) the drop in market capitalization and shareholder value caused by the

restatement of DinoKing’s financial statements, and (2) Premier’s bankruptcy and the associated

expenses.

        118.     Bao is liable for these damages.

                                             COUNT V
                                    EQUITABLE SUBORDINATION
                                       (Against All Defendants)

        119.     The Plaintiff re-alleges here the allegations set forth in the paragraphs preceding

the fifth count of this complaint as if fully set forth herein.

        120.     The Defendants breached their fiduciary duties to Premier and its shareholders,

aided and abetted the breaches of fiduciary duties to Premier and its shareholders, and committed

gross negligence.

        121.     As a direct and proximate result, Premier and its shareholders sustained damages.

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       122.     The damages sustained by Premier and its shareholders include or are evidenced

by, among other things, (1) the lost corporate opportunity to merge with Armada, (2) the lost

corporate opportunity to merge with DinoKing at a more beneficial time, (3) the lost corporate

opportunity to merge with Base, (4) the lost corporate opportunity to secure debt financing from

Brevet when Premier needed it, (5) the lost corporate opportunity to secure debt financing from

Twin Haven when Premier needed it, (6) the lost corporate opportunity to merge with a company

more viable than DinoKing, (7) the drop in market capitalization and shareholder value between

2014 and 2016, and (8) Premier’s bankruptcy and the associated expenses.

       123.     The Defendants also obtained an unfair advantage by engaging in their

misconduct.

       124.     Sellers, Weiser, and Sellers Capital, for example, usurped one of Premier’s

corporate opportunities for a profit of at least $6,000,000, the amount set forth in the judgment in

the Armada Action, which should have been enjoyed by Premier.

       125.     Therefore, any claim the Defendants have against the bankruptcy estates of

Premier or any of its subsidiaries should be equitably subordinated.

       126.     Equitable subordination would not be inconsistent with the provisions of the

Bankruptcy Code.

                                      DEMAND FOR JURY TRIAL

       127.     Plaintiff respectfully demands a jury trial on all issues so triable.

       WHEREFORE, the Plaintiff respectfully requests this Court to enter judgment in its favor

and against the Defendants, and to grant the Plaintiff such other relief as the Court deems just

and appropriate, including, without limitation, an award of attorneys’ fees and costs.



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                                            Respectfully submitted,

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